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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
LATOYA K BENTON,
ADMINISTRATOR OF THE ESTATE OF
XZAVIER D. HILL, DECEASED,
Plaintiffs,
Vv. Civil Action No. 3:22-cv-225 HEH

SETH W. LAYTON, et a/

Defendants.

NOTICE OF CORRECTION

Please take notice that Ex. 5 to the Plaintiffs Memorandum in Opposition to
Defendants’ Motion for Summary Judgment ECF No. 48, included certain materials
reviewed by Mr. Kenneth Miller, Plaintiffs expert witness without the expert reports.

Plaintiff therefore, attaches the full Exhibit 5.

Respectfully Submitted,

LATOYA K. BENTON, Administrator
of the Estate of Xzavier d. Hill, Deceased

By: Is/

Verbena M. Askew, Esquire

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CERTIFICATE OF SERVICE

| hereby certify that on the 16" day of March, | will electronically file the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification of
such filing (NEF) to the following:

Robert B. McEntee, Ill, Assistant
Attorney General

Office of the Attorney General
202 North 9" Street

Richmond, Virginia 23219
rmcenteeiii@oag.state.state.va.us

!s/
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